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                         IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

HAROLD MILLICAN,                                     §
 Plaintiff,                                          §
   V.                                                §              1:18-cv-00616
                                                     §
TEXAS DEPRTMENT OF CRIMINAL                          §
JUSTICE, et al.                                      §       Jury Trial Demanded
  Defendants.                                        §


                          PLAINTIFF’S AMENDED COMPLAINT

       Now comes Plaintiff, Harold Millican (“Millican”) by his attorney Allie R. Booker and

complaining of Defendants Texas Department of Criminal Justice, a/k/a TDCJ and Charles Siringi

(collectively “Defendants”), and unknown Defendants for violations of 42 U.S.C. § 1983 including

but not limited to due process, malicious prosecution, fraud, false arrest, and false imprisonment.


Introduction

       Millican files this action seeking redress for wrongful conduct of the Defendants. Plaintiff

bring this action pursuant to, among other legal base, 42 U.S.C. § 1983 which provides redress for

every person within the jurisdiction of the United States that has been deprived of any right,

privileges, or immunities secured by the Constitution and law of the United States, under color of

state law.


Preliminary Statement


       42 U.S.C. §§ 1983 and 1988, and the Eighth and Fourteenth Amendments to the United

States Constitution, and any other applicable law with respect to a 42 U.S.C. § 1983 and pendant

state law claims filed by an individual who suffered Constitutional deprivations such as this. The
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Court has jurisdiction of this action under 42 U.S.C. § 1983, 28 U.S.C. § 1343, 28 U.S.C. § 1331,

and 28 U.S.C. § 1367.


        This action is for damages arising out of violations of federal law and state torts detailed

below in an amount greater than $200,000.00. The acts and practice constituting the violation

alleged below have occurred within the jurisdiction of the United States Court, in and for the

Eastern District of Texas. In connection with the acts, practice, and violations alleged below, all

Defendants have either directly or indirectly violated Plaintiff, Harold Millican’s constitutional

rights, by creating and engaging in a practice of the use of a denial of necessary medical treatment,

and intentional infliction of emotional distress. As a result of the wrongful conduct of the

Defendants, which was effected with full knowledge of and callous indifference to the

constitutional rights of the Plaintiff, said Plaintiff has suffered irreparable harm of the loss of his

constitutional rights to be free from pain and suffering, and all other damages effectuated through

the acts of Defendants under the color of law.


Jurisdiction


        Federal question jurisdiction is proper pursuant to 28 U.S.C. 1331, 1343 (3), and 1983 as

Plaintiffs claims arise of the deprivation of Plaintiffs’ rights, privilege and immunities under the

Constitution and laws of the United States. Plaintiffs seek attorneys’ fees and costs as prevailing

party for these claims pursuant to 28 U.S.C. § 1988.


        The supplemental jurisdiction of the Court is invoked pursuant to 28 U.S.C. § 1367,

because each claim arises from the same controversy and from a common nucleus of operative

fact.
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          Venue in the United States Eastern District Court for the Eastern District of Texas is proper

pursuant to 28 U.S.C. § 1391 because this is the judicial district in which the Defendants reside,

and in which a substantial part of the events or omissions giving rise to Plaintiffs claims occurred.


Parties


   1. Harold Millican is a resident of the County of Montgomery, State of Texas and the United

          States of America, but is currently incarcerated with the TDCJ, 3295 FM 3514, Beaumont,

          TX 77705.

   2. At all times referred herein, Defendant, Texas Department of Criminal Justice (“TDCJ”),

          is a governmental unit of the State of Texas. Pursuant to Tex. Civ. Pract. & Remedies Code

          § 101.102 (c), this Defendant may be served with process by serving the Secretary of State,

          Rolando Pablos, at James E. Rudder Building 1019 Brazos, Room 105, Austin, Texas

          78701, or wherever he may be found. The issuance citation and service of process on this

          Defendant is requested at this time.

   3. Charles Siringi is the Gist facility’s Chief Executive Officer and/or head warden. He is

          being sued in his individual capacity and is located at 3295 FM 3514 Beaumont, TX 77705,

          or wherever he may be found.

   4. In the event any parties are misnamed or not included in this pleading, it is Plaintiff’s

          contention that such was a “misnomer”, and/or such parties are/were “alter egos” of the

          parties named in this pleading.

          Facts

   5. Plaintiff hereby incorporates all previous paragraphs as set forth above, and are herein

          incorporated by reference.
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 6.    On or about December 15, 2018 Defendant was rushed to the hospital because he lost

      consciousness due to an abscess that he had on his person that had become infected to the

      point that it was poisoning his system and causing him to go into shock. It was determined

      to be a flesh-eating bacteria abscess that he contracted at the Gist facility.

 7. On or about December 16, 2018, Plaintiff learned that the cause of his injuries was that he

      had an abscess that had on his person that had become infected to the point that it was

      poisoning his system and causing him to go into shock.

 8. Plaintiff and his mother, Betty Millican, constantly contacted the prison well before

      December 16, 2018 stating that the abscess brought Harold Millican great pain and that he

      believed it to be infected. They stated that the injury smelled extremely foul, was extremely

      painful and was quickly destroying Plaintiff’s flesh and muscle.

 9. Harold Millican was admitted into the prison hospital several times, but was told that there

      was no one available to take him to the hospital, so he must remain in the infirmary until

      they could get him treatment.

 10. Harold Millican remained in the infirmary for about a week, and an unreasonable amount

      of time before the proper care was rendered to him.

 11. Harold Millican was only rushed to the hospital because he went into shock, and was

      unresponsive. Ince this occurred, Defendant had to have him transported to the hospital.

 12. It was a few days later that Harold Millican learned that it was the abscess on his chest that

      he had complained about, that caused him to black out and lose consciousness.

 13. Because TDCJ initially, and repeatedly denied Harold Millican the proper treatment, the

      flesh-eating bacteria infection that he had, became so strong, that it ate through vital muscle

      tissue and other body parts on his arm and chest causing him to be permanently
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    handicapped. Harold Milican and his mother personally complained to Warden Charles

    Siringi to no avail. Siringi refused to set-up transport of Harold Millican to a hospital due

    to lack of resources to do so.

 14. When Harold Millican was finally transported after becoming unresponsive, Harold

    Millican had to undergo multiple surgeries and undergo additional treatment and

    rehabilitation for the injuries that were caused to his person due to the development of the

    flesh-eating bacteria that was able to develop because TDCJ refused necessary treatment

    to Harold Millican.

 15. Because if TDCJ’s and Charles Siringi’s refusal to retain adequate treatment for Harold

    Millican, he is permanently disfigured, has lost use to his body parts resulting in him being

    permanently handicapped and being restricted in his movement. Although Harold Millican

    gained no income from his appearance, his robust physical appearance has been altered

    due to the injuries complained of in this petition- for such, he seeks redress.

 16. The procedure used by the Texas Department of Criminal Justice, a/k/a TDCJ, herein

    referred to as “TDCJ” in refusing to treat Plaintiff, Harold Millican was grossly unfair, and

    not done according to the law, which caused an extremely prejudicial effect in and through

    the extensive injuries caused to his person.

 17. As a result of the refusal to adequately treat or seek adequate treatment of Plaintiff in a

    timely manner, Plaintiff lost loss of enjoyment of life, suffered personal injuries to his

    person, disfigurement, and infliction of emotional distress.
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                      Count 1-Cruel and Unusual Punishment- 8th
                           Amendments to the Constitution



 18. Plaintiff hereby incorporates all previous paragraphs as set forth above, and are herein

    incorporated by reference as it relates to both Defendants.

 19. Under the Eighth Amendment, conditions of confinement in state prisons must be

    "humane" and "must not involve the wanton and unnecessary infliction of pain." Palmer v.

    Johnson, 193 F.3d 346, 351-52 (5th Cir. 1999) (quoting Rhodes v. Chapman, 452 U.S. 337,

    347, 101 S. Ct. 2392, 69 L. Ed. 2d 59 (1981), and Farmer v. Brennan, 511 U.S. 825, 832,

    114 S. Ct. 1970, 128 L. Ed. 2d 811 (1994).

 20. The deprivation caused by TDCJ and Charles Siringi was "objectively, sufficiently

    serious," and the TDCJ knew that allowing an abscess that was yellow and green in color,

    growing, painful, damaging the skin, eating away at the skin and muscle of Plaintiff, and

    that had a foul odor was dangerous and or harmful to his health. TDCJ knew or should

    have known that the denial of treatment for a wound such as this was an act that was

    deliberately indifferent to Plaintiff’s health and safety. Id. (quoting Farmer, 511 U.S. at

    834). "

 21. TDCJ and Charles Siringi were aware of the pain, the color and the odor as Plaintiff was

    sent to the infirmary, TDCJ just said that they could not transport him at the time, due to

    low staff availability to do so.

 22. TDCJ and Charles Siringi knew or should have known that refusing to transport Plaintiff

    created an excessive risk to the prisoner's health or safety as Plaintiff begged and pleaded,

    informed them of the pain, requested to be taken to a hospital, and his mother, Kathy

    Millican did the same. In addition, he was taken to an infirmary where medical personnel
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         knew or should have known the severity of the circumstances, and should have sought out

         additional medical assistance for treatment.

      23. 42 U.S.C. § 1983 provides that:


Every person, who under color of any statute, ordinance, regulation, custom or usage of any state

or territory or the District of Columbia subjects or causes to be subjected any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any rights, privileges or

immunities secured by the constitution and law shall be liable to the party injured in an action at

law, suit in equity, or other appropriate proceeding for redress …


21.      Plaintiff in this action is a citizen of the United State and all of the individual government

Defendants and government employee Defendants to this claim are persons for purposes of 42

U.S.C. § 1983.


22. All Defendants to this claim, at all times relevant hereto, were acting under the color of state

law in their capacity TDCJ and or TDCJ Employees and their acts or omissions were conducted

within the scope of their official duties or employment.


   Count 2- Violation of 42 U.S.C. § 1983 – Deliberately Indifferent Policies, Practices,
 Customs, Training, and Supervision in violation of the 1st, 4th , 14th Amendments (Against
                                    Both Defendants)

23. Plaintiff hereby incorporates all previous paragraphs as set forth above, and are herein

incorporated by reference.


24. 42 U.S.C. § 1983 provides that:


Every person, who under color of any statute, ordinance, regulation, custom or usage of any state

or territory or the District of Columbia subjects or causes to be subjected any citizen of
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the United States or other person within the jurisdiction thereof to the deprivation of any rights,

privileges or immunities secured by the constitution and law shall be liable to the party injured in

an action at law, suit in equity, or other appropriate proceeding for redress …


25. Plaintiff in this action is a citizen of the United State and Defendants to this claim are persons

for purposes of 42 U.S.C. § 1983.


26. The Defendants to this claim at all times relevant were acting under the color of state law.


27. Plaintiff had the following clearly established rights at the time of the complained of conduct:


a. the right to be free from cruel and unusual punishment and the injuries which flowed from it

under the Fourth and Fourteenth Amendments.


28. Defendant TDCJ and Defendant Charles Siringi knew or should have known of these rights at

the time of the complained of conduct as they were clearly established at the that time.


29. The acts or omissions of these Defendants, as described herein, deprived Plaintiff of his

constitutional and statutory rights and caused him other damages.


30. The acts or omissions of these Defendants, as described herein, deprived Plaintiff of his

constitutional and statutory rights and caused him other damages.


31. Defendants are not entitled to qualified immunity for the complained of conduct.


32. Defendant, at all times relevant, policymakers, and head authority figures for the Gist Unit

and in that capacity established policies, procedures, customs, and/or practices for the same.


33. These Defendants, TDCJ and Charles Siringi developed and maintained policies, procedures,

customs, and/or practices exhibiting deliberate indifference to the constitutional rights of citizens,
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which were moving forces behind and proximately caused the violations of Plaintiff’s

constitutional and federal rights as set forth herein and in the other claims, resulted from conscious

or deliberate choice to follow a course of action from among various available alternatives.


34. Both Defendants have created and tolerated an atmosphere of lawlessness, and have developed

and maintained long-standing, department-wide customs, law enforcement related policies,

procedures, customs, practices, and/or failed to properly train and/or supervise its assistant district

attorneys in a manner amounting to deliberate indifference to the constitutional rights of Plaintiff

and other prisoners.


35. In light of the duties and responsibilities of the prison personnel that participate in the

supervision of the inmates/prisoner, the need for specialized training and supervision is so obvious,

and the inadequacy of training and/or supervision is so likely to result in the violation of

constitutional and federal rights such as those described herein that the failure to provide such

specialized training and supervision is deliberately indifferent to those rights.


40. The deliberately indifferent training and supervision provided by Defendant TDCJ and Charles

Siringi resulted from a conscious or deliberate choice to follow a course of action from among

various alternatives available to Defendants.        All Defendants were moving forces in the

constitutional and federal violation injuries complained of by Plaintiff.


41. As a direct result of Defendants’ unlawful conduct, Plaintiff has suffered actual physical and

emotional injuries, and other damages and losses as described herein entitling him to compensatory

and special damages, in amounts to be determined at trial.


42. On information and belief, Plaintiff may suffer lost future earnings and impaired earnings

capacities from the not yet fully ascertained sequelae of his pain, handicap and disfigurement, in
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amounts to be ascertained in trial. Plaintiff is further entitled to attorneys’ fees and costs pursuant

to 42 U.S.C. § 1988, pre-judgment interest and cost as allowable by federal law. There may also

be special damages for lien interests.


43. Finally, Plaintiff seeks appropriate declaratory and injunctive relief pursuant to 42U.S.C. §

1983 to redress Defendants’ above described ongoing deliberate indifference in policies, practices,

habits, customs, usages, training and supervision with respect to the rights described herein, and

with respect to the ongoing policy and/or practice of the TDCJ and Gist Unit of failing to provide

adequate medical treatment, which Defendants have no intention for voluntarily correcting despite

obvious need and requests for such correction.


         Count 3 – Federal Law Claim: Intentional Infliction of Emotional Distress


   44. Each of the paragraphs of this Complaint is incorporated as if fully restated herein.

   45. In the manner described more fully above, the Defendants engaged in extreme and

       outrageous conduct, including but not limited to:

           a. Refusing Plaintiff adequate medical treatment without any reasonable justification;

           b. Maliciously refusing to provide the proper medical care for a wound that was

               abnormal in color, carried a foul odor, and was painful;

   46. The Defendants knew their conduct would cause severe emotional distress to the Plaintiff

       and knew there was a high probability that their conduct would cause severe emotional

       distress to the Plaintiffs.

   47. The misconduct described in this Count was undertaken with malice, willfulness, and

       reckless indifference to the rights of others.
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   48. As a proximate result of this misconduct, Plaintiffs suffered injuries, including but not

         limited to severe emotional distress.

   49. Plaintiffs Intentional Infliction of Emotional Distress claims involve a use of excessive

         force and unconstitutional acts guaranteed to them under the United States Constitution

         and 42 U.S.C. § 1983 and is therefore preempted by the Constitution and 42 U.S.C. § 1983.


Jury Demand


   50. Plaintiff hereby respectfully requests trial by jury.


Prayer


   51. Wherefore, plaintiff respectfully prays judgment as follows:

            c. For compensatory damages against all defendants in the amount approved at trial;

            d. For exemplary and punitive damages against all Defendants.

            e. For costs of suits herein, including plaintiffs’ reasonable attorney fees;

            f. For such other and further relief as the Court deems proper.


                                                                               Respectfully Submitted,


                                                                   THE BOOKER LAW FIRM

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